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MDL
EXHIBIT 8

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Michael K. Jeanes, Clerk of Cou

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Dec 10 2007 9:37AM MST

IN THE SUPERIOR COURT OF THE STATE OF ARIZONA

IN AND FOR THE COUNTY OF MARICOPA

ROBERT J. SWANSTON, individually and on )
behalf of himself and all others similarly situated, )
)

Plaintiff, )

)

Vs. )
)

TAP PHARMACEUTICAL PRODUCTS, INC.; )
et al., )
)

Defendants. )

)

CV2002-004988

MOTION TO DISMISS WITHOUT
PREJUDICE CERTAIN CLAIMS
AND DEFENDANTS

(Assigned to the Honorable Janet E.
Barton)

Plaintiff, by and through his counsel, The Haviland Law Firm, LLC and Jennings,

Haug & Cunningham, hereby moves pursuant to Rule 41(a) of the Arizona Rules of Civil

Procedure for an Order dismissing without prejudice certain Defendants, and claims against

certain other Defendants to the extent such claims overlap with those being adjudicated in In

re Pharmaceutical Industry Average Wholesale Price Litigation, CA No. 01-12257-PBS,

MDL No. 1456 (D. Mass.) (“MDL 1456”), and in support thereof avers as follows:

1, The following Defendants in this case are also Defendants in MDL 1456: Abbott

Laboratories; Amgen Inc.; Zeneca, Inc.,; AstraZeneca Pharmacenticals L.P.;

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Aventis Pharmaceuticals Inc.; Hoechst Marion Roussel, Inc.; ZLB Behring,
L.L.C. (fk/a Aventis Behring L.L.C.); Baxter: International Inc.; Baxter
Healthcare Corporation; Bayer Corporation; Bristol-Myers Squibb Co.; Oncology
Therapeutics Network Corp.; Apothecon, Inc.; Dey, Inc.; Fujisawa Healthcare,
Inc.; Fujisawa USA, Inc.; Immunex Corporation; Johnson & Johnson; Centocor,
Inc.; Ortho Biotech Products, L.P.; Pharmacia Corporation; Pharmacia & Upjohn
LLC, f/k/a Pharmacia & Upjohn, Inc.; Monsanto Company; Schering-Plough
Corporation; Warrick Pharmaceuticals Corporation; Sicor, Inc.; Gensia, Inc., and
Gensia Sicor Pharmaceuticals, Inc. (hereinafter “Overlapping Defendants”).

For the reasons the follow, Plaintiffs respectfullysubmit that it is appropriate for
them to dismiss without prejudice their claims against these Defendants at this
juncture to the extent they overlap with those in MDL 1456 to avoid any potential
overlap between this case and MDL 1456 as this case moves forward.

The following Defendants in this case are not Defendants in MDL 1456: Ethicon
Endo-Surgery, Indigo Medical Inc., Christopher Coleman, Michael T.
Gendelman, Eddy James Hack, Scott Hidalgo, and David Jett (“Non-Overlapping
Defendants”). Plaintiffs respectfully submit that it is appropriate for them to
dismiss without prejudice their claims against these Defendants in their entirety.
As this Court is aware, the Court in MDL 1456 has certified several Classes of
consumer plaintiffs who have claims against certain Overlapping Defendants for
some of the same drugs as are at issue in this case. The MDL Court also has
pending before it a Motion for Class Certification involving consumer claims
against certain other Overlapping Defendants, the outcome of which Motion may
not be known for months.

In view of the class certification decisions by the Court in MDL 1456, Plaintiffs

would like to move forward with class certification in this case, and the ultimate

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prosecution of the merits of their claims. However, in order to do so in a manner
that does not cause there to be any question as to this Court’s jurisdiction over
Plaintiffs’ claims here, the undersigned counsel for Plaintiffs believe that it would
be prudent for this Court to dismiss without prejudice the Plaintiffs’ claims for
drugs that overlap with those being asserted by plaintiffs in MDL 1456.

However, because no one can predict the outcome of the MDL Court’s pending
class certification decisions, Plaintiffs also believe that certain protections should
be afforded to the parties in the event that it becomes necessary to reinstate one or
more of those claims in this case at some future date. Such protections would
serve to protect the interests of all parties by ensuring that neither the claims nor
defenses thereto are compromised unfairly in the event reinstatement becomes
necessary.

Accordingly, Plaintiffs propose that the Court’s Order of dismissal should include
the following protections: (1) that defendants are not deemed to have waived or
released any defenses or arguments, including but not limited to, any statute of
limitations and/or repose defenses, which could have been asserted prior to the
effective date of the Order granting dismissal, (2) that any and all applicable
statute of limitations and/or repose should be, from the effective date of the Order
granting dismissal and for the pendency of MDL 1456, tolled, and (3) that the
reinstatement of any claim against a Defendant in this action should not trigger a
right of removal to federal court.

Should the Court find that dismissal without prejudice of these overlapping claims
is appropriate under the circumstances, Plaintiffs would prepare and present to the
Court, within fourteen (14) days of the entry of its Order of dismissal, a listing of
the drugs of the above-listed Defendants that are at issue in MDL 1456, the claims

for which drugs Plaintiffs hereby agree to dismiss without prejudice from this
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case. Plaintiffs respectfully submit that such list should be appended to the
Court’s dismissal Order to make clear on the record the extent to which Plaintiffs’
claims are dismissed without prejudice.
WHEREFORE, for the foregoing reasons, Plaintiffs hereby request that this Honorable
Court enter an Order of Dismissal in the form attached hereto.

RESPECTFULLY SUBMITTED this /(/day of December, 2007.

By /s/ Donald E. Haviland, Jr.
Donald E. Haviland, Jr.

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CERTIFICATE OF MAILING

I hereby certify that the foregoing MOTION TO DISMISS WITHOUT PREJUDICE
CERTAIN CLAIMS AND DEFENDANTS served this date, December LO *boq7

on all parties, via Lexis/Nexis.

s/K. Cecil
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